     Case 2:24-cv-06436-MAA Document 1 Filed 07/30/24 Page 1 of 8 Page ID #:1




1
      Stephen M. Doniger (SBN 179314)
      stephen@donigerlawfirm.com
2     Scott A. Burroughs (SBN 235718)
3
      scott@donigerlawfirm.com
      Kelsey M. Schultz (SBN 328159)
4     kschultz@donigerlawfirm.com
5
      DONIGER / BURROUGHS
      603 Rose Avenue
6     Venice California 9029
7
      Telephone: (310) 590-1820

8     Attorneys for Plaintiff
9

10
                            UNITED STATES DISTRICT COURT

11
                          CENTRAL DISTRICT OF CALIFORNIA

12    MICHAEL ARAM, INC., a New Jersey Case No.:
13    Corporation,
                                       PLAINTIFF’S COMPLAINT FOR
14    Plaintiff,                       COPYRIGHT INFRINGEMENT
15                                     Jury Trial Demanded
      v.
16

17    A & B HOME GROUP, INC., a
      California Corporation; and DOES 1
18    through 10,
19
      Defendants.
20

21

22

23

24

25

26

27

28

                                               1
                                           COMPLAINT
     Case 2:24-cv-06436-MAA Document 1 Filed 07/30/24 Page 2 of 8 Page ID #:2




1               Michael Aram, Inc., by and through its undersigned attorneys, hereby prays to
2     this honorable Court for relief based on the following:
3                                  JURISDICTION AND VENUE
4               1.    This action arises under the Copyright Act of 1976, Title 17 U.S.C., § 101
5     et seq.
6               2.    This Court has federal question jurisdiction under 28 U.S.C. §§ 1331 and
7     1338 (a).
8               3.    Venue in this judicial district is proper under 28 U.S.C. §§ 1391(c) and
9     1400(a) in that this is the judicial district in which a substantial part of the acts and
10    omissions giving rise to the claims occurred.
11                                             PARTIES
12              4.    Plaintiff MICHAEL ARAM, INC. (“ARAM” or “Plaintiff”), is a
13    corporation organized and existing under the laws of the State of New Jersey with a
14    principal place of business located at 901 North Olive Ave, West Palm Beach.
15    Florida 33401.
16              5.    Defendant A & B HOME GROUP, INC. (“A & B”) is a California
17     corporation with its principal place of business at 660 N Pioneer Avenue, Woodland,
18     CA and does business in and with the state of California, and Los Angeles.
19              6.    Plaintiff is informed and believes and thereon alleges that Defendants
20    DOES 1 through 10, inclusive, are other parties not yet identified who have infringed
21    Plaintiff’s copyrights, have contributed to the infringement of Plaintiff’s copyrights,
22    or have engaged in one or more of the wrongful practices alleged herein. The true
23    names, whether corporate, individual or otherwise, of Defendants 1 through 10,
24    inclusive, are presently unknown to Plaintiff, which therefore sues said Defendants
25    by such fictitious names, and will seek leave to amend this Complaint to show their
26    true names and capacities when same have been ascertained.
27              7.    Plaintiff is informed and believes and thereon alleges that at all times
28    relevant hereto each of the Defendants was the agent, affiliate, officer, director,
                                                    2
                                                COMPLAINT
     Case 2:24-cv-06436-MAA Document 1 Filed 07/30/24 Page 3 of 8 Page ID #:3




1     manager, principal, alter-ego, and/or employee of the remaining Defendants and was
2     at all times acting within the scope of such agency, affiliation, alter-ego relationship
3     and/or employment; and actively participated in or subsequently ratified and/or
4     adopted each of the acts or conduct alleged, with full knowledge of all the facts and
5     circumstances, including, but not limited to, full knowledge of each violation of
6     Plaintiff’s rights and the damages to Plaintiff proximately caused thereby.
7                                 FACTUAL BACKGROUND
8           8.     Michael Aram, owner of ARAM, is an award-winning artist who has
9     dedicated his career to craft-based design, including his unique and celebrated
10    sculptures, houseware, and jewelry.
11          9.     Trained as a painter, sculptor, and art historian, Michael Aram’s work
12    encompasses a wide range of media and reveals a rich and variant source of
13    inspiration – nature, mythology, narrative storytelling, and purified form.
14          10.    After studying fine art and living as an artist in New York in the late
15    1980's, Michael Aram traveled to India where he discovered its rich metalworking
16    traditions. While there Michael Aram spent hours observing artisans as they made
17    items the same way as their families and predecessors had for centuries. Touched
18    by the talent of these gifted artisans and inspired to work with craftsmen whose
19    skills he felt were greatly untapped, Michael Aram set up a studio in India where
20    he has created his work for the past 30 years. Today, over 200 artisans work
21    alongside him in his workshop where the same creative interaction between artist
22    and artisan remains the source of every object that Michael Aram makes.
23          11.    In drawing his inspiration for his designs, Michael Aram looks to his
24    surroundings and often makes sculptures of objects that might otherwise be
25    overlooked in the everyday. Nature is his biggest muse as can be seen in his
26    collections such as Autumn Leaf, Bark & Branch, Black Iris, Black Orchid, Calla
27    Lilly, Cherry Blossom, Golden Ginko, Ivy & Oak, Ocean Reef, Olive Branch,
28    Palm, Pomegranate, Sunflower, Thorn, Twig, etc. His work combines the
                                                  3
                                              COMPLAINT
     Case 2:24-cv-06436-MAA Document 1 Filed 07/30/24 Page 4 of 8 Page ID #:4




1     imperfections innate in the handmade process with the perfectly imperfect beauty
2     of nature to create objects that reflect humanity. Many of his pieces are ingrained
3     with a rich storyline, inherent symbolism, and deep-rooted meaning. Sometimes
4     his work is simply an exploration and celebration of the handmade process.
5     Bridging the gap between the artist and artisan is a hallmark of Michael Aram's
6     work. The handmade quality of the work allows it to shift between the realm of
7     fine and decorative art.
8           12.    For more than thirty (30) years, ARAM has enjoyed substantial
9     success in the luxury market offering houseware designs created by Michael Aram
10    and owned in exclusivity by ARAM. This broad diversity embodies Michael
11    Aram's versatility as an artist who is comfortable working on private commissions,
12    one-of-a-kind pieces for gallery shows, or pieces that are affordable to a wider
13    audience.
14          13.    ARAM’s original works are featured in popular and influential
15    magazine and websites, including Vanity Fair, Elle Decor, Portrait, and Home &
16    Design. ARAM’s products are sold in hundreds of points of distribution, including,
17    but not limited to, through ARAM’s brick and mortar locations; its website,
18    https://michaelaram.com/; and, luxury stores Neiman Marcus, Bloomingdales,
19    Macy’s, Saks Fifth Avenue, and Bergdorf Goodman.
20          14.    A & B is a home accessories designer/distributor which sells its
21     products through its website, https://www.abhomeinc.com/, through third-party
22     distributors such as “Amazon”, “Lowes”, and “Bed Bath and Beyond,” and at its
23     showrooms in Atlanta, Dallas, High Point, Las Vegas, Woodland, Rancho
24     Cucamonga and even Guanghzhou, China.
25    ///
26    ///
27    ///
28

                                                 4
                                             COMPLAINT
     Case 2:24-cv-06436-MAA Document 1 Filed 07/30/24 Page 5 of 8 Page ID #:5




1                   CLAIMS RELATED TO THE SUBJECT DESIGN
2           15.     ARAM is the creator and owner of an original sculptural work of art,
3      entitled “110608 - Romaine Salad Bowl Enamel,” which was duly registered under
4      registration number VA0002262038 (“Subject Design”).
5           16.     ARAM is informed and believes and thereon alleges that following
6      its distribution of Subject Design, A & B, purchased, distributed, advertised,
7      and/or sold houseware goods featuring designs which are substantially similar, if
8      not virtually identical, to Subject Design without ARAM’S authorization
9      (“Offending Product”).
10          17.     Offending Product includes but is not limited to the products sold by A
11     & B under the name “Leaf Bowl" at https://www.abhomeinc.com/product/leaf-
12     bowl/.
13    ///
14    ///
15    ///
16

17

18

19

20

21

22

23

24

25

26

27

28

                                                 5
                                             COMPLAINT
     Case 2:24-cv-06436-MAA Document 1 Filed 07/30/24 Page 6 of 8 Page ID #:6




1           18.    Specifically, and without limitation, Offending Product is a mirror
2      image of a substantial portion of Subject Design. Exemplars of Subject Design and
3      Offending Product are below:
4      Subject Design
5

6

7

8

9

10

11

12

13
       Offending Product
14

15

16

17

18

19

20

21

22

23

24    ///
25    ///
26    ///
27

28

                                                6
                                            COMPLAINT
     Case 2:24-cv-06436-MAA Document 1 Filed 07/30/24 Page 7 of 8 Page ID #:7




1                                   FIRST CLAIM FOR RELIEF
2                   (For Copyright Infringement – Against all Defendant, and Each)
3            19.      ARAM repeats, re-alleges, and incorporates herein by reference as
4      though fully set forth, the allegations contained in the preceding paragraphs.
5            20.      ARAM alleges that Defendants accessed the Subject Design by without
6      limitation, viewing, and/or purchasing the Subject Design.
7            21.      ARAM alleges on information and belief that Defendants copied,
8      reproduced, displayed, and distributed the Offending Products to consumers.
9            22.      ARAM alleges on information and belief that Defendants infringed
10     Plaintiff’s copyrights by creating infringing derivative works from the Subject
11     Design and distributed same to the public.
12           23.      Due to Defendants’ acts of infringement, Plaintiff has suffered general
13     and special damages in an amount to be established at trial.
14           24.      Due to Defendants’ acts of copyright infringement as alleged herein,
15     Defendants, and each of them, have obtained direct and indirect profits they would
16     not otherwise have realized but for their infringement of Plaintiff’s rights in the
17     Subject Design. As such, Plaintiff is entitled to disgorgement of Defendants’ profits
18     directly and indirectly attributable to Defendants’ infringement of Plaintiff’s rights in
19     the Subject Design in an amount to be established at trial. Plaintiff further alleges
20     that Defendant has committed copyright infringement with actual knowledge or
21     reckless disregard of ARAM’s rights such that said acts of copyright infringement
22     were, and continue to be, willful, intentional and malicious.
23                                     PRAYER FOR RELIEF
24           Wherefore, Plaintiff prays for judgment as follows:
25                 a. That Defendants and their respective agents and servants be enjoined
26                    from importing, manufacturing, distributing, offering for sale, selling or
27                    otherwise trafficking in any product that infringes Plaintiff’s copyrights
28                    in the Subject Design;
                                                    7
                                                COMPLAINT
     Case 2:24-cv-06436-MAA Document 1 Filed 07/30/24 Page 8 of 8 Page ID #:8




1              b. That Plaintiff be awarded all profits of Defendants plus all losses of
2                 Plaintiff, the exact sum to be proven at the time of trial, or, if elected
3                 before final judgment, statutory damages as available under the
4                 Copyright Act, 17 U.S.C. § 101 et seq.;
5              c. That Plaintiff be awarded its attorneys’ fees as available under the
6                 Copyright Act U.S.C. § 101 et seq.;
7              d. That Plaintiff be awarded pre-judgment interest as allowed by law;
8              e. That Plaintiff be awarded the costs of this action; and
9              f. That Plaintiff be awarded such further legal and equitable relief as the
10                Court deems proper.
11                                      JURY DEMAND
12          Plaintiff demands a jury trial on all issues so triable pursuant to Fed. R. Civ. P.
13    38 and the 7th Amendment to the United States Constitution.
14

15    Dated: July 30, 2024                             DONIGER/BURROUGHS
16
                                             By:       /s/ Stephen M. Doniger
17                                                     Stephen M. Doniger, Esq.
                                                       Kelsey M. Schultz, Esq.
18
                                                       Attorneys for Plaintiff
19

20

21

22

23

24

25

26

27

28

                                                   8
                                             COMPLAINT
